Case 15-29889      Doc 43     Filed 06/13/22 Entered 06/13/22 14:07:35            Desc Main
                                Document     Page 1 of 2



                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 IN RE:                                        )   NO. 15-29889
 JOSE AND TAMARA GARCIA                        )   HON. JANET BAER
                                               )   BANKRUPTCY JUDGE

            TRUSTEE’S REPORT OF DEPOSIT OF UNCLAIMED FUNDS

         Brenda Porter Helms, Trustee (“Trustee”), pursuant to 11 U.S.C. section 347 and

 Rules 3010 and 3011 of the Federal Rules of Bankruptcy Procedure, provides the

 following report of Trustee’s deposit of unclaimed funds with the Clerk of the

 Bankruptcy Court:

    1. The instant chapter 7 bankruptcy was filed and Brenda Porter Helms was

 appointed Trustee, duly qualified and is acting as said Trustee.

    2.   The following check was issued on September 9, 2021 but was not cashed or

 returned to the Trustee:

         Check #2009 payable to Jose and Tamara Garcia in the amount of $45,298.7.

    3. The Trustee put a Stop Payment against the check.

    4. Over the years, the Trustee has made several attempts to contact the debtors

 including internet searches and letters to persons having the same name who live or used

 to live in Aurora, Illinois. Despite having sent notices to the debtors during the course of

 this case, no mail has been returned to the Trustee and the debtors have not contacted the

 Trustee about their case.

    5. In January 2022, the debtor Jose Garcia came to the Trustee’s office said his was

 Wife was disabled and living in New Mexico. Mr. Garcia said he is an engineer who

 travels around the country and was headed to a new position in Michigan. He promised
Case 15-29889      Doc 43     Filed 06/13/22 Entered 06/13/22 14:07:35           Desc Main
                                Document     Page 2 of 2



 to return with his wife or her written permission in May, 2022 but neither he nor his wife

 has contacted the Trustee since then. Mr. Garcia said his wife could not be reached by

 telephone due to her disability.

    6. By reason of the foregoing the following check in the amount of $45,298.78 is

 being deposited with the Clerk of the Bankruptcy Court pursuant to Section 347 of the

 Bankruptcy Code




                                                      Respectfully submitted,



                                                      /s/Brenda Porter Helms
                                                      Trustee

 Brenda Porter Helms
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